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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

ELANI GRETZER, individually and on               )
Behalf of all others similarly situated,         )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )      Case No. CIV-19-490-R
                                                 )
STATE OF OKLAHOMA, ex rel. BOARD                 )
OF REGENTS OF THE UNIVERSITY OF                  )
OKLAHOMA,                                        )
                                                 )
                            Defendant.           )


                                           ORDER

       Pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, this case will be

dismissed for lack of prosecution if Plaintiff does not show good cause within 14 days

from the date of this Order for her failure to effect service upon the Defendant.

       IT IS SO ORDERED this 12th day of September 2019.
